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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

EASTERN DIVISION
UNITED STATES OF AMERICA, ) S U P E R S E D IN G
) 1 N D l C T M E N T
Plaintiff, )
)
v. ) CASE NO. 5:15CR319
)
LEROY SHUAROD STEELE, ) 21 U.S.C. § 846
aka LERoY sEAN sTEELE, ) 21 U.S-C- § 841(3)(1)
aka sHRAWN, ) 21 U~S-C- §841(1>)(1)(€)
aka SHAWN’ ) l8 U.S.C. § 2
SABRINA M. ROBINSON, )
aka"BRE’" ) JUDGE DONALD C. NUGENT
RYAN K. sUMLIN, >
aka T.J., )
)
Defendants, )
COUNT 1
The Grand Jury charges:

From at least as early as March 2015, to in or about April 2015, the exact dates
unknown to the Grand Jury, in the Northern District of Ohio, Eastern Division, and
elsewhere, LEROY SHUAROD STEELE, aka LEROY SEAN STEELE, aka SHRAWN,
aka SEAN, SABRINA M. ROBINSON, aka "BRE", RYAN K. SUMLIN, aka T.J., and
diverse others known and unknown to the Grand Jury, did knowingly and intentionally

combine, conspire, confederate and agree together and With each other to distribute and to

possess with the intent to distribute a mixture and substance containing a detectable
amount of fentanyl, a Schedule ll controlled substance, and acetyl fentanyl, a Schedule l
controlled substance analogue, as defined in Title 21 , United States Code, Section 802(32),
in violation ofTitle 21, United States Code, Sections 841(a)(1) and (b)(l)(C).

lt was a part of the conspiracy that on numerous occasions during a period beginning in at
least as early as l\/larch 2015 to in or about April 2015, LEROY SHUAROD STEELE obtained
fentanyl and acetyl fentanyl from suppliers in China.

lt was further a part of the conspiracy that SABRINA M. ROBINSON assisted LEROY
SHUAROD STEELE in distributing fentanyl and acetyl fentanyl to various individuals in
Akron, Fairlawn and other areas in the Northern District of Ohio,

It was further part of the conspiracy that LEROY SHUAROD STEELE and
SABRINA M. ROBINSON supplied RYAN K. SUMLIN with fentanyl for redistribution in
Akron and other areas in the Northern District othio.

All in violation of Title 21, United States Code, Section 846.

COUNT 2

The Grand Jury further charges:

On or about March 21 , 2015, in the Northern District of Ohio, Eastem Division, the
defendant, LEROY SHUAROD STEELE, aka LEROY SEAN STEELE, aka SHRAWN, aka
SEAN, did unlawfully, knowingly and intentionally distribute a quantity of a mixture and
substance containing a detectable amount ofacetyl fentanyl, a Schedule l controlled substance
analogue as defined in Title 21, United States Code, Section 802(32), knowing that the substance
was intended for human consumption as provided in Title 21, United States Code, Section 813, and
death resulted from the use of such substance, all in violation of Title 21, United States Code,

Sections 841 (a)( 1) and (b)(l)(C) and Title 18, United States Code, Section 2.

ENHANCED PENALTY UNDER TITLE 21,
UNITED STATES CODE, SECTION 841 (bl( ll(Cl
(Death or Serious Bodily lnjury Resulting from Use of Controlled Substance)
The Grand Jury further charges:

The allegations of Count 2 are hereby re~alleged and incorporated by reference herein. lt
is further alleged that on or about l\/larch 21, 2015, in Akron, Ohio, a person whose identity is
known to the Grand Jury (T.R.) did fatally ingest and overdose on a controlled substance, namely
acetyl fentanyl analogue, which had been distributed by LEROY SHUAROD STEELE, aka
LEROY SEAN STEELE, aka SHRAWN, aka SEAN to T.R. (the deceased person).

All in violation ot` the enhanced penalty provisions ofTitle 21 , United States Code, Section
841(b)(1)(C).

COUNT 3

The Grand Jury further charges:

On or about l\/Iarch 28, 2015, in the Northern District of Ohio, Eastem Division, the
defendant, RYAN K. SUMLIN, aka T.J., did unlawfully, knowingly and intentionally distribute
a quantity of a mixture and substance containing a detectable amount of fentanyl and heroin,
Schedule ll controlled substances, in violation of Title 21 , United States Code, Sections 841
(a)(l) and (b)(l)(C) and Title 18, United States Code, Section 2.

ENHANCED PENALTY UNDER TITLE 21,
UNITED STATES CODE, SECTION 841 (bl( l)(Cl
(Death or Serious Bodily lnjury Resulting from Use of Controlled Substance)
The Grand Jury further charges:
The allegations of Count 3 are hereby re-alleged and incorporated by reference herein. lt

is further alleged that on or about March 28, 2015, in Akron, Ohio, a person whose identity is

known to the Grand Jury (C.D.) did fatally ingest and overdose on a controlled substance,

namely fentanyl and heroin, which had been distributed by RYAN K. SUMLIN, aka T.J., aka to
C.D. (the deceased person).

All in violation of the enhanced penalty provisions ofTitle 21 , United States Code, Section
841(b)(1)(C).

COUNT 4

The Grand Jury further charges:

On or about April 28, 2015, in the Northern District of Ohio, Eastern Division, the
defendant, RYAN K. SUMLlN, aka T.J., did unlawfully, knowingly and intentionally distribute
and possess with the intent distribute a quantity of a mixture and substance containing a
detectable amount of fentanyl and heroin, Schedule ll controlled substances, in violation of Title
21, United States Code, Sections 841 (a)(l) and (b)( 1)(C) and Title 18, United States Code,

Section 2.

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Original document - Signatures on tile with the Clerk of Courts, pursuant to the E-Government

Act of 2002.

